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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  LISA BARBOUNIS,
                                                   Case No. 2:19-cv-05030-JDW
                Plaintiff,

                         v.

  THE MIDDLE EAST FORUM, et al.,

                Defendants.

                                           ORDER

       AND NOW, this 19th day of January, 2021, upon consideration of the Parties’ Joint

Stipulation for Deposition Dates (ECF No. 105), it is ORDERED that the re-opened depositions

of witnesses shall proceed according to the following schedule:

              a.       February 2, 2021 – Caitriona Brady;

              b.       February 2, 2021 – Delaney Yonchek;

              c.       February 5, 2021 – Patricia McNulty; and

              d.       February 9, 2021 – Lisa Barbounis.

       The Parties may not reschedule any of these depositions without leave of Court, upon a

showing of good cause.

                                                    BY THE COURT:


                                                    /s/ Joshua D. Wolson
                                                    JOSHUA D. WOLSON, J.
